              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                            AT CHATTANOOGA




 UNITED STATES OF AMERICA                     )
                                              )
 v.                                           )       No. 1:07-CR-84
                                              )
 BRADLEY OVERTON                              )



                                     ORDER



             This criminal case is before the court on the report and

 recommendation of Magistrate Judge Susan K. Lee [doc. 622]. Judge Lee

 conducted a change of plea hearing and found the defendant competent to enter

 a plea; that the plea was knowing and voluntary; and that the plea has a sufficient

 basis in fact. Based on these findings, Judge Lee recommends that the court

 accept the defendant’s guilty plea to a lesser included offense of Count One of

 the Indictment.

             No objections to the Report and Recommendation have been

 received within the time allowed. Therefore, the court ADOPTS the Report and




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 Recommendation in its entirety, and the defendant’s plea of guilty is ACCEPTED.

 The defendant shall remain in custody. The sentencing hearing is set for July 25,

 2008, at 1:30 p.m. in Chattanooga.



             IT IS SO ORDERED.



                                             ENTER:



                                                    s/ Leon Jordan
                                             United States District Judge




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